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                     EXHIBIT 6
      Case 1:18-cv-00533 ECF No. 1-6 filed 05/11/18 PageID.158 Page 2 of 2




           In tly Unit'6tate5 TN5tritt Court
          for tbe to e5tern TEit5tritt of IfTirbigan

 SCOTTSDALE CAPITAL ADVISORS                 SOUTHERN DIVISION
 CORPORATION,
                                             Civil No.
         Plaintiff,                          HON.

 v.
                                             Kalamazoo Civil No.: 18-0153-CZ
 MORNINGLIGHTMOUNTAIN, LLC,                  HON.ALEXANDER C. LIPSEY
 MICHAEL GOODE, and
 DOES 1-10,
                                             PROOF OF SERVICE
         Defendants.


STATE OF MICHIGAN )
COUNTY OF OAKLAND )
        On May 11, 2018, I caused this paper to be served on Scottsdale by

hand delivering a copy of the same, with all exhibits, to Scottsdale's

attorney of record in the State-court action, Deborah L. Gorden, at her

office located at 33 Bloomfield Hills Parkway, Suite 220, Bloomfield Hills,

Michigan 48304.

        I declare that under the penalty of perjury that the statements above

are true to the best of my information, knowledge and belief.



                                       Moak,L Aftwitclii4
                                       MICHELLE L. GUARDIOLA
